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UNITED sTA TES DISTRICT CoURT F*f-Ef?‘ W D-C.
WESTERN DISTRICT OF TENNESM 20 m mr 05

 

 

WESTERN DIVISION _ n
JoHN ROEBUCK a AssocIATEs INc. JUDGm-:N-r IN A cIv:L case
v-
JEFF B. RerRTs.- DUSTY ama cAsE No= 04-3042-1:

(dba GRASSLAND FARMS);

LARRY BAKER; YELLOW CREEK REALTY;
MARK L. SMITH; FIRST MISSOURI
NATIONAL BANK; N. WILLIAM PHILLIPS

 

DECISION BY CCURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Consent
Order Of Dismissal With Prejudice entered on July 13, 2005, this
cause is hereby dismissed with prejudice.

APPROVED;

 

TED s'rATEs D:s'rRJ:cT coURT THOMAS M.GOULD
/‘

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
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